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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION



UNITED STATES,
     Plaintiff,
v.                                                  No. 23-20191
DEMETRIUS HALEY,
     Defendant.



  MOTION TO COMPEL DISCOVERY AND ORDER UNITED STATES TO PRODUCE
 AND INDEX OF INVESTIGATIVE MATERIAL THE UNITED STATES POSSESSES
                  BUT DOES NOT INTEND TO PRODUCE



     Comes now the defendant, Demetrius Haley, by and through his

undersigned counsel of record, Michael J. Stengel, Esq., and,

pursuant to Fed. R. Crim. P. 16(a)(1)(E)(i), (F) moves this court

to order the United States to produce the “dump” of Tyre Nichols’

phone it possesses. In addition, pursuant to Brady v. Maryland,

373 U.S. 83 (1963) and its progeny; Fed.R.Crim.P. 5(f); and the

order entered as R. 15 herein, he seeks an order compelling the

United States to furnish an index of investigative material within

its possession, custody, or control – including the possession,

custody, or control of the investigative agencies which has not

been produced in discovery to enable the defendant to form his

own, independent opinion on whether the United States is complying
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with the Brady obligation it has acknowledged it must meet.               In

support thereof, Mr. Haley would show:


     1. Mr. Haley has requested discovery, R. 16, which includes

the United States’ obligation to turn over, inter alia, documents,

objects, and reports of examinations or tests which are in its

possession, custody, or control and are material to preparing Mr.

Haley’s     defense.    Fed.    R.   Crim.   P.   16(a)(1)(E)(i),   (F)(i),

(F)(iii).


     2. In an October 4, 2023 email from AUSA Rogers to Martin

Zummach, counsel for co-defendant, Justin Smith, the United States

acknowledged that Tyre Nichols’ phone “was dumped”, but indicated

that it has not reviewed the “dump” and does not intend to produce

it in discovery.


     3. The contents of Mr. Nichols’ phone are material to the

preparation     of     Mr.     Haley’s   defense.   Accordingly,    it    is

discoverable and the United States should be ordered to produce

it. In consulting with the United States regarding this motion,

through counsel, Mr. Haley has notified the United States that the

phone “dump” is material to resolution of count 1 because it is

pertinent to the reasonableness of the force used. This inquiry

involves addressing the question of “whether the officers’ actions

are objectively reasonable in light of the facts and circumstances

confronting them, without regard to their underlying intent or
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motivation”. Graham v. Connor, 490 U.S. 386, 397 (1989). One of

the guideposts in making this determination is whether, in this

case, Tyre Nichols was “actively resisting arrest or attempting to

evade    arrest    by   flight”.    Graham    v.   Connor,   supra,    at   396.

Resistance to arrest manifested by refusing to comply with demands

to roll over to be handcuffed and continued attempts to stand up

can    justify    the   force    necessary    to   incapacitate    a   suspect.

Kapuscinski v. City of Gibraltar, 821 Fed.Appx. 604 (6th Cir. 2020).

Herein, Tyre Nichols had refused to pull over, refused to obey

commands to be handcuffed, reached for an officer’s gun while

engaged, and fled after the use of pepper spray and a taser. His

phone is material to presenting the full story behind his state of

mind    and   actions    which   created     the   facts   and   circumstances

confronting the officers who physically engaged him on January 7,

2023.


       4.   Further,    the   United   States’     acknowledgement     that   it

possesses the contents of Mr. Nichols’ phone, but hasn’t reviewed

it and does not intend to produce it demonstrates a failure to

recognize and/or abide by its Brady obligation and this Court’s

Rule 5(f) order. (R. 15). It cannot honestly represent that it has

disclosed all potential Brady material if it is willing to stick

its proverbial head in the sand and consciously both decline to

review material it has assembled as part of the investigation and
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concurrently decline to produce it for defense investigation. This

unilateral decision is disconcerting enough that an appropriate

remedy is to order the United States to provide defense counsel an

index of the investigative material that it does not intend to

produce. Mr. Haley acknowledges that he isn’t necessarily entitled

to the entire investigative file, however, an index of it will

enable him to ascertain whether he agrees that all discoverable

material has been furnished and, if not, seek further relief.

Furnishing an index, rather than access to the entire investigative

file, has the additional benefit of protecting non discoverable

portions of the investigative file from disclosure.


     5. Consistent with L.Crim.R. 12.1(a), the undersigned emailed

AUSA’s Pritchard, Rogers, and Gilbert regarding this motion. While

a constructive dialogue occurred, the parties could not agree. The

United States does object to the granting of the motion.


                                        Respectfully submitted,

                                        S/Michael J. Stengel
                                        _________________________
                                        Michael J. Stengel (12260)
                                        Lawyer for Demetrius Haley
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                        Certificate of Service

     I hereby certify that I have served a copy of the foregoing
Motion to Compel by electronic means, via the Court’s electronic
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filing system, on AUSA’s David Pritchard, Libby Rogers, and Kathryn
Gilbert this 5th day of October, 2023.



                                        S/Michael J. Stengel
